
                                                                    








				











COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 

NO. 2-04-182-
CV



IN RE RALPH O. DOUGLAS	RELATOR



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ORIGINAL PROCEEDING

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MEMORANDUM
 
OPINION
(footnote: 1)
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The court has considered relator's petition for writ of mandamus 
and is of the opinion that relief should be denied. &nbsp;Accordingly, relator's petition for writ of mandamus is denied.



PER CURIAM







PANEL B
: HOLMAN, DAUPHINOT, and GARDNER, JJ.



DELIVERED June 28, 2004



FOOTNOTES
1:See 
Tex. R. App. P. 47.4
.




